      Case:20-04827-ESL13 Doc#: Filed:04/23/21 Entered:04/23/21 12:20:23                                                         Desc: Main
                                Document Page 1 of 6
 Fill in this information to identify the case:
                       JOSE HIRAM ANDRADES MALDONADO
 Debtor 1              _______________________________________________________________________________________

 Debtor 2              _______________________________________________________________________________________
 (Spouse, if filing)

                                          Old San Juan                                        Puerto Rico
 United States Bankruptcy Court for the: _______________________________________ District of ______________________________________
                         20-04827ESL                                                                 (State)
 Case number            ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

                                                                                                                  3
Name of creditor: Banco Popular de Puerto Rico                                        Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                Date of payment change:
                                                            4 ____
                                                                1 ____
                                                                    2 ____
                                                                        0                                                        06/01/2021
 identify the debtor’s account:                           ____                         Must be at least 21 days after date
                                                                                       of this notice


                                                                                       New total payment:                          364.95
                                                                                                                                 $ ____________
                                                                                       Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
           No
      
      ✔     Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                 the basis for the change. If a statement is not attached, explain why:
                   __________________________________________________________________________________________________
                                             12.58
                   Current escrow payment: $ _______________                       12.10
                                                             New escrow payment: $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's
      variable-rate account?
      
      ✔     No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                 attached, explain why:
                   __________________________________________________________________________________________________

                   Current interest rate: _______________% New interest rate: _______________%

                   Current principal and interest payment: $ _______________        New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      ✔
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                 (Court approval may be required before the payment change can take effect.)

                       Reason for change: ___________________________________________________________________________________

                       Current mortgage payment: $ _______________                  New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                                 page 1
     Case:20-04827-ESL13 Doc#: Filed:04/23/21 Entered:04/23/21 12:20:23                                                           Desc: Main
                               Document Page 2 of 6
           JOSE HIRAM ANDRADES MALDONADO
                                                                                                                             20-04827ESL
Debtor 1   ___________________________________________________________________________                Case number (if known) ________________________________
                 First Name            Middle Name                 Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     
     ✔     I am the creditor.

          I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 _____________________________________________________________
     /s/ Lorna Zequeira

     Signature
                                                                                            Date
                                                                                                    04/22/2021
                                                                                                    _______________




                      Lorna Zequeira                                                                Bankruptcy Technician
 Print:               _________________________________________________________             Title   ___________________________
                      First Name                     Middle Name     Last Name


                      Banco Popular de Puerto Rico
 Company              _________________________________________________________


                      PO Box 362708
 Address              _________________________________________________________
                      Number                Street
                      San Juan, PR, 00936-2708
                      ___________________________________________________
                      City                                           State       ZIP Code


                      (787)723-0077                                                                 Lorna.zequeira@popular.com
 Contact phone        ____________________                                                  Email ________________________




Official Form 410S1                                                Notice of Mortgage Payment Change                                            page 2
          Case:20-04827-ESL13 Doc#: Filed:04/23/21 Entered:04/23/21 12:20:23 Desc: Main
                                                               PO Box 362708
                                    Document Page 3 of 6       San Juan, Puerto Rico 00936-2708
                                                                                             Teléfono 787-775-1100




                                         60
                JOSE H ANDRADES-MALDONADO
                HC1 BOX 4496
                NAGUABO       PR 00718-9527




                Préstamo Hipotecario:

                                                                                    Fecha: 19 de abril de 2021



                               DIVULGACIÓN DEL ESTADO ANUAL DE LA CUENTA DE RESERVA

Esta cuenta debe ser analizada anualmente para determinar si acumula los fondos suficientes y determinar si la cuenta refleja
sobrante o deficiencia según la actividad presupuestada.




                                                                                                                                           PPRSLRES-4/20/21-60
 El nuevo pago se desglosa como sigue:                                   Partidas a pagar en el próximo año:

 Principal e Intereses                                     $352.85       Seguro Hipotecario                                        $0.00
 Depósito a la reserva                                      $12.58       Seguro de Inundación                                      $0.00
 Deficiencia/ Adelanto                                       $0.00       Seguro Contra Riesgos                                   $151.00
 Seguros Opcionales                                          $0.00       Contribuciones                                            $0.00
 Misceláneos                                                 $0.00
 Subsidio / Reserva de Remplazo                              $0.00       Total Desembolsos Anuales Anticipados:                  $151.00


 Nuevo pago comenzando en 06/01/21                        $365.43        Depósito a la Reserva:                         $12.58

 Sobrante:                                                   $-0.48



Nota: Utilizaremos el sobrante de $-0.48 para aplicarlo a los pagos de reserva del próximo año, que verá reflejado en
una reducción en la cantidad del pago periódico por $364.95, hasta el próximo          04/22 .




Este es un estado de la actividad en la cuenta de reserva desde 06/20 hasta 05/21 . El pago actual es de $365.43 del cual $352.85 es
para principal e intereses y $12.58 para la cuenta de reserva y partidas adicionales, si aplica, como: Seguro de Vida, Seguro de
Incapacidad, Seguro de Muerte Accidental, Cargos por Servicios y Mantenimiento, que componen el pago.

El año pasado anticipamos que los desembolsos de la Cuenta de Reserva efectuados durante este período serían por $151.00 . Bajo la
ley federal, el balance mínimo requerido no debió exceder de $25.16 o de una sexta (1/6) parte del total de los desembolsos anuales
anticipados.

                                                         Historial de la Cuenta

                            Pagos a la               Desembolsos de la                                                 Balance de la
       Mes                                                                             Concepto
                        Cuenta de Reserva            Cuenta de Reserva                                               Cuenta de Reserva

                                                                           BALANCE INICIAL                                    $57.77
  JUNIO                         $12.48                       $0.00                                               *            $70.25
       Case:20-04827-ESL13 Doc#: Filed:04/23/21
                             PRÉSTAMO            Entered:04/23/21 12:20:23
                                       HIPOTECARIO:                                                                           Desc: Main
                                 Document Page 4 of 6

                                                                 Historial de la Cuenta

                             Pagos a la                      Desembolsos de la                                                  Balance de la
       Mes                                                                                       Concepto
                         Cuenta de Reserva                   Cuenta de Reserva                                                Cuenta de Reserva

  JULIO                            $0.00                            $0.00                                                 *            $70.25
  AGOSTO                          $23.97                            $0.00                                                 *            $94.22
  SEPTIEMBRE                       $0.33                            $0.00                                                 *            $94.55
  OCTUBRE                         $13.15                            $0.00                                                 *           $107.70
  NOVIEMBRE                       $25.30                            $0.00                                                 *           $133.00
  DICIEMBRE                        $0.00                            $0.00                                                 *           $133.00
  ENERO                           $23.64                            $0.00                                                 *           $156.64
  FEBRERO                         $11.82                            $0.00                                                 *           $168.46
  MARZO                           $12.58                            $0.00                                                             $181.04
  ABRIL                            $0.00                          $151.00             HAZARD INSUR                        *            $30.04
  MAYO                            $12.58 **                         $0.00                                                              $42.62

                            Total de pagos a la cuenta de reserva                                                                     $135.85
                            Total de desembolsos de contribuciones                                                                      $0.00
                            Total de desembolsos de seguros                                                                           $151.00


El asterisco (*) indica una diferencia con el estimado del estado anterior, ya sea en la fecha o en la cantidad.

** El / los mes (es) identificado(s) con los asteriscos (**) en el historial de la cuenta son presupuestados lo que significa que a la fecha
del Estado Anual de Análisis de Reserva, los pagos se encuentran pendientes de recibir o los desembolsos pendientes por emitir. Los
cálculos en el Estado están basados en los 12 meses desglosados, por lo que cualquier diferencia en los pagos pendientes por recibir o
desembolsos pendientes por emitir, puede provocar un aumento o disminución en los cálculos presupuestados desglosados en el Estado




                                                                                                                                                        PPRSLRES-4/20/21-60
Anual de Análisis de Reserva.

                                                   PARTE 4 - PRESUPUESTO DE LA CUENTA

Para su información, a continuación, le proveemos un cálculo de la actividad para la cuenta de reserva desde                      06/21 hasta 05/22 .
Retenga este estado para compararlo con el historial de la cuenta de reserva según el próximo análisis anual.


      Mes                     Cantidad        Anticipada                         Concepto            Balance Presupuestado       Balance Requerido
                        para Depósitos        para Desembolsos                                               para su                   en su
                                                                                                       Cuenta de Reserva         Cuenta de Reserva

                                                                  BALANCE INICIAL                                                           $37.78
  JUNIO                     $12.58                   $0.00                                                       $55.20                     $50.36
  JULIO                     $12.58                   $0.00                                                       $67.78                     $62.94
  AGOSTO                    $12.58                   $0.00                                                       $80.36                     $75.52
  SEPTIEMBRE                $12.58                   $0.00                                                       $92.94                     $88.10
  OCTUBRE                   $12.58                   $0.00                                                      $105.52                    $100.68
  NOVIEMBRE                 $12.58                   $0.00                                                      $118.10                    $113.26
  DICIEMBRE                 $12.58                   $0.00                                                      $130.68                    $125.84
  ENERO                     $12.58                   $0.00                                                      $143.26                    $138.42
  FEBRERO                   $12.58                   $0.00                                                      $155.84                    $151.00
  MARZO                     $12.58                   $0.00                                                      $168.42                    $163.58
  ABRIL                     $12.58                 $151.00        HAZARD INSUR                                   $30.00                     $25.16
  MAYO                      $12.58                   $0.00                                                       $42.58                     $37.74


El balance final proyectado para la cuenta de reserva es de $42.62 . El balance inicial requerido para la cuenta de reserva de acuerdo
con este análisis deber ser de $37.78 . Esto significa que la cuenta de reserva tiene un sobrante de $4.84 .

Según las leyes federales, todo sobrante menor a $50.00 puede ser reembolsado al cliente o puede ser retenido para ser aplicado a los
pagos en la cuenta de reserva del próximo año. Utilizaremos el sobrante para aplicarlo a los pagos de reserva del próximo
año, que verá reflejado en una reducción en la cantidad del pago periódico por los próximos            10 meses.

Si el préstamo es de interés variable, el pago puede cambiar antes del próximo análisis de la cuenta de reserva de acuerdo con la
nueva tasa de interés.

Para más información sobre este análisis de la cuenta de reserva, puede comunicarse con nuestro Departamento de Servicios
Hipotecarios, Sección de Servicios al Cliente de lunes a viernes de 8:00 a.m. a 6:00 p.m. y sábado de 9:00 a.m. a 12:00 m. al 787-
775-1100 ó libre de cargos al 1-800-981-1982.

Si usted anticipa algún problema con los pagos:

                                                                       Página 2 de 3
        Case:20-04827-ESL13 Doc#: Filed:04/23/21
                              PRÉSTAMO            Entered:04/23/21 12:20:23
                                        HIPOTECARIO:                                                          Desc: Main
                                  Document Page 5 of 6


    l    Comuníquese lo antes posible con la División de Loss Mitigation del Banco Popular al 787-522-1544 o libre de costo al
         1-855-220-2201.

    l    Si usted busca una alternativa a los cambios en la tasa de interés y en la cantidad del pago, las siguientes opciones podrían
         estar disponibles (la mayoría está sujeta a la aprobación de su acreedor):

         -   Refinanciar el préstamo con nosotros o con otro acreedor
         -   Vender la propiedad y usar las ganancias para saldar el préstamo actual
         -   Modificar los términos del préstamo con nosotros
         -   Una moratoria le concede, temporeramente, más tiempo para hacer el pago mensual

    l    Para refinanciamiento, puede comunicarse con Popular Mortgage al 787-707-7070.

    l    Para evaluación de alternativas como modificar o prórrogas, puede comunicarse con Loss Mitigation al 787-522-1544 o libre
         de costo al 1-855-220-2201.

Si desea obtener información sobre agencias y programas de asesoría en su área, llame al Departamento de la Vivienda y Desarrollo
Urbano de los Estados Unidos (HUD por sus siglas en inglés), en Puerto Rico al 787-766-5400, en Estados Unidos al 1-800-569-4287 o
aceda http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm . Para información sobre el programa Making Home Affordable (MHA) puede
comunicarse al 1-888-995-HOPE. Si usted necesita información del Negociado de Protección Financiera del Consumidor de los Estados
Unidos (CFPB por sus siglas en inglés) acceda la página de internet http://www.consumerfinance.gov .




                                                                                                                                         PPRSLRES-4/20/21-60




                                                              Página 3 de 3
           Case:20-04827-ESL13 Doc#: Filed:04/23/21 Entered:04/23/21 12:20:23                    Desc: Main
                                     Document Page 6 of 6
     209701
     4120

       Fill in this information to identify the case:


                                        UNITED STATES BANKRUPTCY COURT

                                                          Certificate of Service


       I hereby certify that I have served a copy of the foregoing Notice of Mortgage Payment Change was
       served on the parties listed below by postage prepaid U.S. Mail, First Class or served
       electronically through the Court’s ECF System at the e-mail address registered with the
                                  04/23/2021
       Court on this Date:___________________________


         Debtor 1 Name:                                       JOSE HIRAM ANDRADES MALDONADO

         Debtor 2 Name:
         Debtor’s Mailing Address:                            HC1 BOX 4496
                                                              NAGUABO, PR 00718


1.                                             MARTINEZ & TORRES LAW OFFICES, P.S.C.
                                               P.O. Box 192938 San Juan, PR 00919-2938
                                               Tel. (787) 767-8244 & Fax (787) 767-1183

                                                         /s/ Patricia I. Varela Harrison
                                                          By: Patricia I. Varela Harrison
                                                                USDC -PR 224802
                                                        pvarela@martineztorreslaw.com




     1 Official Form 410S1                                   Notice of Mortgage Payment Change
